 

Case: 1:17-cv-05672 Document #: 44 Filed: 05/22/18 Page 1 ot 1 Page|D #:212

NOTICE OF SERVICE OF DEFENDANT’S
MANDATORY INITIAL DISCOVERY RESPONSES

Keemya l\/laghsoudi, an attorney, hereby certifies that on May 22, 2018, she caused a
copy of Defendant’s Mandatory Initial Discovely Responses to be served by electronic mail

and FedEx on:

Tanika Beaulieu

1131 E. 165th Street
South Holland, IL 60473
tross@stua'ent. kcc. esz

On the Sarne date, the above attorney caused a copy of this Notice of Service of
Defendant’s Mandatory Initial Discovery Responses to be electronically filed with the Clerk of
the Court using the Court’s CM/ECF (electronic case jiling) system Which sent electronic notice

to the following ECF participant

Tanika Beaulieu 1
1131 E. 165th Street
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tross@studenr. kcc. edu

S/ Keemva Ma,qhsoudi
One ofthe attorneys for Defendant

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